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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x         Case No. 13-45519-nhl
IN RE:

Herman Segal,
                                                                         Chapter 7
                                             Debtor
---------------------------------------------------------------x

               ORDER SCHEDULING HEARING ON AN EXPEDITED BASIS


        Upon the motion of Quentin Manor, LLC (“Quentin Manor”) for entry of an Order under

Rule 9006 of the Federal Rules of Bankruptcy Procedure and Rule 9077-1 of the Local Rules of

Bankruptcy Procedure, shortening the notice period for the Motion, shortening applicable

response deadlines, and granting related relief (the “Motion to Shorten Time”); and upon the

affidavit of Brian Marks, President of Quentin Manor, annexed to the Motion to Shorten Time;

and this Court having jurisdiction to consider the Motion to Shorten Time and the relief

requested therein; and consideration of the Motion to Shorten Time and the relief required being

a core proceeding; and venue being properly before this Court; and the Court having determined

that shortened notice is proper; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor; it is hereby

ORDERED:

                 1. The Motion to Shorten Time is granted to the extent set forth herein.

                 2. The otherwise applicable notice period will be shortened under Bankruptcy

                      Rule 9006(c)(1) as set forth herein.

                 3. The deadline for the service of Quentin Manor’s motion for a hearing for an

                      order granting a declaratory judgement that there is no stay in effect with

                      respect to the Debtor’s occupancy at the premises known as 4115 Quentin
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              Road, Brooklyn, New York, (“Subject Property”), or in the alternative, relief

              from the automatic stay to permit Quentin Manor to execute on a warrant of

              eviction removing Debtor from the Subject Property (together, the “Stay

              Relief Motion”) [ECF No. 471] shall be October 3, 2019. Service shall be

              effectuated by overnight mail and electronic mail or facsimile, where

              known, upon: (1) the Debtor; (2) the United States Trustee; (3) the Chapter 7

              Trustee; and (4) any party having filed a notice of appearance in this case.

           4. The hearing on the relief requested in the Stay Relief Motion shall be held on

              October 10, 2019 at 2:00 p.m. (the “Hearing”) before the Honorable Nancy

              Hershey Lord of the United States Bankruptcy Court for the Eastern District

              of New York, Courtroom 3577, 271-C Cadman Plaza East, Brooklyn, NY

              11201.

           5. Any objections and other responses to the relief requested in the Stay Relief

              Motion may be made at the Hearing.

           6. This Court shall retain jurisdiction to hear and determine all matters arising

              from or related to the implementation, interpretation and/or enforcement of

              this Order.




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Dated: October 3, 2019                                         Nancy Hershey Lord
       Brooklyn, New York                                 United States Bankruptcy Judge
